     Case: 1:15-cv-01046-SO Doc #: 506 Filed: 02/14/24 1 of 2. PageID #: 11809




                            IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

UNITED STATES OF AMERICA,                    )      CASE NO. 1:15-CV-1046
                                             )
                    Plaintiffs,              )      JUDGE SOLOMON OLIVER, JR.
                                             )
v.                                           )
                                             )      CITY OF CLEVELAND’S REQUEST
CITY OF CLEVELAND                            )      FOR STATUS CONFERENCE
                                             )
                    Defendant.               )
                                             )

        The City of Cleveland respectfully requests a status conference with the Court regarding

the continued unredacted access to all City criminal records, including LEADS and CJIS records,

for oversight entities set forth in the Settlement Agreement, including unredacted access for the

Monitoring Team, the Department of Justice and other entities contemplated by this Court’s

order. The City supports their continued unredacted access. However, according to the attached

correspondence from the Ohio LEADS Steering Committee (Ex. A), the City and its officials are

unable to fully comply with all aspects of the Consent Decree (e.g. ¶¶ 19, 390 and 391) without

the risk of incurring potential civil and criminal penalties under Ohio law governing access to

law enforcement records. See e.g. R.C. 2913.04, OAC 4501:2-10-11. Therefore, The City is

seeking a status conference to more fully discuss these concerns and outline a path toward a

resolution of this issue.

                                            Respectfully submitted,
                                            FOR THE CITY OF CLEVELAND

                                            MARK GRIFFIN
                                            Director of Law City of Cleveland

                                            By: /s/Mark Griffin
                                            Mark Griffin (OH: 0064141)
                                            City of Cleveland
    Case: 1:15-cv-01046-SO Doc #: 506 Filed: 02/14/24 2 of 2. PageID #: 11810




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                             CERTIFICATE OF SERVICE

       I certify that on February 14, 2024, I electronically filed a true and accurate copy of the

foregoing Request for Status Conference. Parties will receive notification via email and may

access a copy of the document through the Court’s electronic filing system.



                                            /s/ Mark D. Griffin
                                            Mark D. Griffin (0064141)
                                            Counsel for City of Cleveland




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